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13
                                  UNITED STATES DISTRICT COURT
14                               NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
15
     In re: CATHODE RAY TUBE (CRT)                     Case No. 3:07-cv-5944-SC
16   ANTITRUST LITIGATION                              MDL No. 1917
17   This Document Relates to:                         MITSUBISHI ELECTRIC DEFENDANTS’
18                                                     ADMINISTRATIVE MOTION TO FILE
     Best Buy Co., Inc., et al. v. Technicolor SA,     DOCUMENTS UNDER SEAL
19   et al., No. 13-cv-05264;

20   Electrograph Systems, Inc., et al. v.
     Technicolor SA, et al., No. 13-cv-05724;
21

22   Interbond Corp. of Am. v. Technicolor SA,
     et al., No. 13-cv-05727;
23
     Office Depot, Inc. v. Technicolor SA, et al.,
24   No. 13-cv-05726;
25
     P.C. Richard & Son Long Island
26   Corporation, et al. v. Technicolor SA, et al.,
     No. 13-cv-05725;
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     ___________________________________
28
                    MITSUBISHI ELECTRIC DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
                                              Case No. 3:07-cv-5944-SC; MDL No. 1917
             Case 4:07-cv-05944-JST Document 3462 Filed 01/23/15 Page 2 of 3



 1
     Target Corp. v. Technicolor SA, et al.,
 2   No. 13-cv-05686;
 3
     Costco Wholesale Corporation v.
 4   Technicolor SA, et al., No. 13-cv-05723;

 5   Schultze Agency Services, LLC v.
     Technicolor SA, Ltd., et al., No. 13-cv-
 6   05668;
 7
     Sears, Roebuck and Co., et al. v.
 8   Technicolor SA, No. 13-cv-05262;

 9   Dell Inc., et al. v. Phillips Electronics North
     America Corporation, et al., No. 13-cv-
10   02171;
11
     Tech Data Corp., et al. v. Hitachi, Ltd., et
12   al., No.13-cv-00157;

13   Siegel v. Technicolor SA, et al., No.13-cv-
     05261;
14

15   Viewsonic Corporation v. Chunghwa
     Picture Tubes Ltd., et al., No.13-cv-02510.
16   ___________________________________

17          Pursuant to Civil Local Rule 7-11 and 79-5(d), and the Stipulated Protective Order of
18
     June 18, 2008, Defendants Mitsubishi Electric Corporation, Mitsubishi Electric US, Inc., and
19
     Mitsubishi Electric Visual Solutions America, Inc. (collectively, the “Mitsubishi Electric
20
     Defendants”) respectfully seek this Court’s approval to file the Mitsubishi Electric Corporation’s
21

22   Reply in Support of its Motion for Summary Judgment Based on Absence of Evidence of

23   Liability (the “Reply”) and Exhibits 24 and 26-29 to the Declaration of Gabriel A. Fuentes in

24   support thereof, Under Seal.
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                      MITSUBISHI ELECTRIC DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL
                                                Case No. 3:07-cv-5944-SC; MDL No. 1917
               Case 4:07-cv-05944-JST Document 3462 Filed 01/23/15 Page 3 of 3



 1            The Mitsubishi Electric Defendants request an order sealing the following documents,

 2   which have been designated as “Confidential” or “Highly Confidential” under the Protective
 3
     Order:
 4
              •     Exhibits 24 and 26-29 to the Declaration of Gabriel A. Fuentes in Support of the
 5
                    Reply and the redacted portions of the Reply referencing other “Confidential” or
 6                  “Highly Confidential” information.

 7
              The Mitsubishi Electric Defendants will be filing a publicly redacted version of the
 8
     Reply. Accordingly, the Mitsubishi Electric Defendants respectfully request that the Court grant
 9

10   its application to file the exhibits outlined above and portions of the Motion under seal.

11

12   Dated: January 23, 2015                       JENNER & BLOCK LLP
13
                                                   By: /s/ Terrence J. Truax             .
14                                                 JENNER & BLOCK LLP
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25                                                 Mitsubishi Electric Visual Solutions America, Inc.
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                                               Case No. 3:07-cv-5944-SC; MDL No. 1917
